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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            Case No. 04-CR-20872-DLG

  UNITED STATES OF AMERICA,

  v.

  KENNETH R. WEST
  a/k/a CRISTIAN NOEL IGLESIAS,

  Defendant.
  _____________________________      ____/

                                      ORDER

       THIS CAUSE comes before the Court upon the Defendant’s Motion to

  Correct Judgment and Commitment Order (ECF No. 62).

       THE COURT has reviewed the Motion, pertinent portions of the record,

  and is otherwise fully advised in the premises.

       Defendant, in the instant motion, argues his name as it appears on

  the Judgment and Commitment Order, Cristian Noel Iglesias a/k/a Kenneth

  R. West, “is causing confusion in the R.R.C. in Miami” and the Judgment

  and Commitment Order should be amended to read, Kenneth R. West a/k/a

  Cristian Noel Iglesias instead. Accordingly, it is hereby

       ORDERED AND AJUDGED that the Bureau of Prisons shall, within 5 days,

  file a response to Defendant’s Motion, addressing whether changing the

  order of the names listed on the Judgment and Commitment Order would

  alleviate any confusion for the BOP.

       DONE AND ORDERED in Chambers at Miami, Florida, this 5th day of July,

  2022.

                                             s/Donald L. Graham
                                             DONALD L. GRAHAM
                                             UNITED STATES DISTRICT JUDGE

  cc:     All Counsel of Record
          Bureau of Prisons
